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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
Christine Tuma,                                           )
                                                          )     Case No. 1:24-cv-8307
                Plaintiﬀ,                                 )
                                                          )
v.                                                        )     Jury Trial Demanded
                                                          )
Hawthorne Race Course, Inc., Jim Miller,                  )
John Walsh, Dave White, Illinois Racing Board,            )
Dawn Folker-Calderon, Beth Beuchler,                      )
Thomas Kelley, and John Eddy                              )
                                                          )
                Defendants.                               )
                                                          )

                                        COMPLAINT AT LAW

        Plaintiﬀ, Dr. Christine Tuma, through her attorneys, the Garﬁnkel Group, LLC complains

against Defendants Hawthorne Race Course, Inc., the Illinois Racing Board, Jim Miller, John Walsh,

Dave White, Dawn Folker-Calderon, Beth Beuchler, Thomas Kelley, and John Eddy (collectively the

“RICO Defendants”) for civil violations of the Racketeer Inﬂuenced and Corrupt Organization Act

(“RICO”), 18 U.S.C. § 1961-2, 1964, the Illinois Whistleblower Act, 740 ILCS 174/1 et seq., and the

Illinois torts of retaliatory discharge and civil conspiracy.

                                               SUMMARY

        1.      Beginning on or before March of 2022, the RICO Defendants formed an enterprise,

(hereinafter referred to as “the Enterprise”), whose criminal activities were intended to enrich

themselves, maintain their powerful positions, and generate funds for the construction of a casino at

the racetrack. They eﬀectuated their goal by knowingly racing injured, sick, and lame thoroughbred

horses in violation of state and federal law. Over the course of 2022-2023 at least 21 horses were

euthanized or died at Hawthorne Race Couse from racing or racing related activities. The Plaintiﬀ,

Christine Tuma (“Dr. Tuma”), is a veterinarian formerly employed by Hawthorne. Dr. Tuma’s daily
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activities at the racetrack were directed and overseen by the Chief State Veterinarian of the Illinois

Racing Board (“IRB”). Dr. Tuma uncovered their criminal conspiracy and reported it to state and

federal government regulators. On July 11, 2023, two days before a visit by federal regulators, Dr.

Tuma’s employment was terminated in retaliation for blowing the whistle on the illegal activities of

the Enterprise.

         2.       The Enterprise was formed in reaction to the decline of wagers placed on races run at

RICO Defendant Hawthorne. Thoroughbred horse racing in Illinois has been in a steep decline for

three decades due to public backlash over the treatment of animals in the sport, as well as the

proliferation of alternative gambling outlets. To address the underlying issues of animal welfare,

Congress enacted legislation to protect the thoroughbred horses in the sport, while the Illinois

legislature passed legislation to protect the state's horse racing special interests. In 2020, Congress

passed stricter animal welfare and safety legislation via the Horseracing Integrity and Safety Act (the

“Act”). 15 U.S.C. §§ 3051–3060. The new federal regime under the Act sharply contrasts with recent

Illinois legislation.

         3.       Unlike most regulatory legislation and their enforcement bodies at the federal and state

levels, the stated legislative intent of the Illinois legislature, and Illinois’ horse racing regulator, the

Illinois Racing Board (“IRB”), is to “support and enhance Illinois' horse racing industry” and “ensure

that Illinois' horse racing industry remains competitive with neighboring states.” Illinois Horse Racing

Act of 1975 (“IHRA”), 230 ILCS 5/1 et seq. Under this mandate, in 2019, the Illinois legislature passed

legislation to further beneﬁt Illinois horse racing’s special interests by expanding the taxes on newer

competitive gaming outlets, such as recently legalized sports betting in the state. 12 230 ILCS 5/54.5,


1        The Horse Racing Equity Trust Fund established under the Illinois Gaming Act is funded by a percentage of
casino and other revenue. The purpose of the fund is to support the horse racing industry in Illinois, which includes
supplementing purses (prize money for races), supporting racetrack operations, and other related activities. 230 ILCS 10/et
seq.



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as amended by Ill. Pub. Act 101-0482 (2019).

        4.      Hawthorne, along with other special interests from the Illinois horse racing industry,

including horse owners, trainers, and the IRB, relies almost exclusively on the funds allocated to them

from wagers placed by the betting public in Illinois and across the country on horse races run in the

state. It was against this backdrop, that the Enterprise was formed, and the RICO Defendants

committed the federal and state crimes enumerated herein. The RICO Defendants, individually and

collectively, used fraudulent means to induce bets on horses that they knew to be injured, sick, or

lame, while concealing those conditions, and engaging in intentional and egregious acts of animal

cruelty. Over a two-year period consisting of approximately seventy-ﬁve racing dates, the RICO

Defendants through Chief State Veterinarian, Dr. Dawn Folker-Calderon, and Association

Veterinarian, Dr. Beth Beuchler, overturned the concerted independent medical assessment of Dr.

Tuma and intentionally facilitated and fraudulently certiﬁed the running of over eighty sick, injured,

or lame horses as ﬁt or qualiﬁed to race, in violation of federal and state law.

        5.      The RICO Defendants leveraged their respective roles to ﬁnancially beneﬁt and

maintain their respective powerful positions, speciﬁcally, by fraudulently increasing the number of

horses certiﬁed as ﬁt (also known as sound) to run in regulated Illinois horse races at Hawthorne. The

intent and result of their illegal actions was to increase the total wagers made by the betting public on

races run at Hawthorne for their own ﬁnancial gain. The entry of these horses into regulated Illinois

races was not only a means for the RICO Defendants to induce wagers on horses that were not legally

qualiﬁed to run, but in numerous instances, the certiﬁcation of an additional horse in a race allowed

the Enterprise to run races that did not meet the legally mandated minimum number of entries




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required to run a wagered race under Illinois law. 3 The complaints made by Dr. Tuma to federal and

state regulators included speciﬁc allegations that the RICO Defendants may have used this

information themselves or via others to place illegal wagers or ﬁx races.

         6.       In addition to Dr. Tuma’s co-employers, Hawthorne and the IRB, the other RICO

Defendants are all either individuals, corporate entities, or Illinois governmental agencies and include

the following: Jim Miller, Hawthorne's Director of Racing; John Walsh, Hawthorne’s Assistant

General Manager; Dave White, Hawthorne's Racing Secretary; Beth Beuchler, a veterinarian employed

by Hawthorne; Dawn Folker-Calderon, the Illinois Racing Board's Chief State Veterinarian; and two

state stewards, Thomas Kelley and John Eddy. Kelley and Eddy are both IRB employees responsible

for ensuring the fairness and integrity of the races run at Hawthorne.

         7.       In furtherance of the Enterprise, the RICO Defendants individually and collectively

deprived Dr. Tuma of her property, speciﬁcally her employment, when they violated:

         a.       18 U.S.C. § 1343 (wire fraud);

         b.       18 U.S.C. § 1955 (prohibition of illegal gambling businesses);

         c.       720 ILCS 5/28-1(b)(11) (transmitting information as to wagers, betting odds, or
                  changes in betting odds); and

         d.       230 ILCS 5/35 (conducting horse racing in Illinois in violation of the provisions of
                  the Illinois Horse Racing Act).

         8.       As more fully alleged herein, the RICO Defendants are liable for the damages caused

to Dr. Tuma stemming from their violations of RICO, the Illinois Whistleblower Act, the Illinois

common law torts of civil conspiracy and retaliatory discharge, due to their illegal termination of Dr.

Tuma for attempting to stop the criminal activity of the Enterprise, by reporting it to the regulators


3         11 Ill. Admin Code 1413.131 provides for the minimum number of horses required to run a pari-mutuel wagering
race. In relevant part it provides if scratches reduce the number of horses in such a race to fewer than six, instead of
cancelling the race altogether, Hawthorne, as the licensed association, may run the race as a non-wagering exhibition race.




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at the Horseracing Integrity and Safety Authority (“HISA”) and the IRB.

                                                 PARTIES

         9.     Plaintiﬀ, Dr. Christine Dr. Tuma (“Dr. Tuma” or “Plaintiﬀ”), is a resident of McHenry

County, and a former employee of Hawthorne Race Course, Inc.

         10.    Dr. Tuma is a veterinarian licensed in Illinois and Wisconsin and has been practicing

veterinary medicine since 2007.

         11.    Collectively, the parties below are referred to as the “RICO Defendants.”

         12.    RICO Defendant, Hawthorne Race Course, Inc. (“Hawthorne”) is a thoroughbred

horse racetrack located in Cicero, Illinois.

         13.    RICO Defendant, the Illinois Racing Board (“IRB”) is a regulatory agency of the State

of Illinois.

         14.    RICO Defendant, Jim Miller (“Miller”) is an employee of and the Director of Racing

at Hawthorne.

         15.    RICO Defendant, John Walsh (“Walsh”) is the Assistant General Manager of

Hawthorne.

         16.    RICO Defendant Dawn Folker-Calderon (“Calderon”) is the State Veterinarian and

an employee of the IRB. Calderon was promoted by the board of the IRB from the position of “State

Veterinarian” to “Chief State Veterinarian,” along with a raise, after they ﬁrst became aware of the

allegations herein.

         17.    RICO Defendant, Beth Beuchler (“Beuchler”) is an association veterinarian employed

by Hawthorne.

         18.    RICO Defendant, Dave White (“White”) is Hawthorne’s Thoroughbred Racing

Secretary and an employee of Hawthorne.

         19.    At all times relevant herein, RICO Defendant Thomas Kelley (“Kelly”), was a state



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steward and an employee of the IRB.

            20.   RICO Defendant John Eddy (“Eddy”) is a state steward and an employee of the IRB.

                                        JURISDICTION AND VENUE

            21.   This action is brought pursuant to 18 U.S.C. §§ 1961-1968 and involves claims arising

under the laws of the United States. This Court has jurisdiction over this action pursuant to 28 U.S.C.

§ 1331, which confers original jurisdiction on federal district courts to hear civil actions arising under

federal laws.

            22.   This Court also has jurisdiction pursuant to 18 U.S.C. § 1964(c), which provides that

any person injured in his or her business or property by reason of a violation of 18 U.S.C. § 1962 may

sue in any appropriate United States district court.

            23.   Furthermore, this Court has supplemental jurisdiction over the state law claims

asserted herein pursuant to 28 U.S.C. § 1367(a) as these claims are so related to the federal claims that

they form part of the same case or controversy.

            24.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) and 18 U.S.C.

§ 1965(a) as a substantial part of the events or omissions giving rise to the claims occurred in this

district, and because the Defendants reside, are found, have agents, or transact their aﬀairs in this

district.

                                                BACKGROUND

            25.   The primary purpose of the Enterprise and the RICO Defendants was to increase the

number of horses racing, increase the total number of races run, drive up their respective portion of

the takeout, and protect their powerful positions.

            26.   As a result, the RICO Defendants intentionally violated federal and state laws when

they certiﬁed lame and sick horses to race, while abusing the animals in their care and defrauding the

betting public.



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        27.     The activities of the Enterprise and the attendant causes of actions against the RICO

Defendants as alleged herein took place against the backdrop of the following and motivated the

formation and operation of Enterprise:

                a. the decline of the horse racing industry in Illinois;

                b. the divergent federal and state regulation of the horse racing industry;

                c. the role of wagering in the funding of Illinois horse racing’s special interests;

                d. Hawthorne’s deteriorating ﬁnancial condition;

                e. the regulatory roles and responsibilities of veterinarians at Hawthorne under
                   federal and state Law; and

                f. the medical assessment of lameness, its long-term impact on animal welfare and
                   the use of this inside information in wagering.

I.      The Decline of Horse Racing in Illinois

        28.     At its peak in 1989, Illinois had six thoroughbred racetracks licensed to race in the

state, including Arlington Park, Balmoral Park, Sportsman’s Park, Maywood Park, Fairmount Park

and Hawthorne.

        29.     Each year the IRB approves a series of racing dates. The series of races dates approved

by the IRB for a particular racing season are referred to as a “meeting.” The amount wagered in any

individual race or collectively in a meeting is referred to as the “handle.”

        30.     Collectively, in their peak in 1989 these racetracks generated handles in excess of $1.2B

per year.

        31.     By 2023 the amount wagered in Illinois had drastically fallen to $490,000,000 per year,

and only two racetracks remained active, Fairmount Park, located in downstate Illinois, and

Hawthorne.

        32.      The handle from horse racing in Illinois has been on a steady decline for the past

three decades. This decline is a result of two factors.



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        33.     The ﬁrst is broader public attention to animal cruelty in the sport. This attention has

come after a series of high-proﬁle scandals including:

                a. the deaths of 30 horses in a few short months at Santa Anita Park in 2019;

                b. a spike in horse race fatalities in 2011 and 2012 at Aqueduct Racetrack;

                c. the 2008 euthanizing of Eight Belles on the track after ﬁnishing second in the
                   Kentucky Derby; and

                d. a series of doping scandals including the indictment and conviction of trainers
                   Jorge Navarro and Jason Servis for the use of performance enhancing drugs to the
                   animals in their care.

        34.     The second factor in the decline of horse wagering in Illinois is the legalization of

riverboat casinos, land-based casinos, and sports books in Illinois and Northwest Indiana, along with

a host of new competitive online gambling options.

II.     The Divergent Federal and State Oversight of the Horse Racing Industry

        35.     The activities of the Enterprise and the RICO Defendants were set against a backdrop

of starkly contrasting regulation of horse racing at the state and federal levels.

        36.     In recent years, Congress and the Illinois legislature have taken diametrically diﬀerent

views on the regulation of the horse racing industry. In 2020, determined to stop the rampant animal

cruelty and doping scandals in horse racing, Congress passed the Act. The Act provides for the

establishment of national standards for medication, track safety, and the overall welfare of racehorses.

        37.     The Act provided for two new regulatory bodies operating under the auspices of the

Federal Trade Commission (“FTC”). The ﬁrst, the Horseracing Integrity and Safety Authority

(“HISA”), whose operations are in Lexington, Kentucky. HISA is responsible for establishing and

enforcing uniform standards for horse racing in the United States. This includes rules related to anti-

doping, medication control, and track safety. 15 U.S.C. § 3053(b)(2). The second, the Horseracing

Integrity and Welfare Unit (HIWU), operating under HISA, is speciﬁcally tasked with the enforcement

of the Anti-Doping and Medication Control (“ADMC”) Program, and ensuring compliance with the

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rules set by HISA. Federal Trade Comm’n, Order: Anti-Doping and Medication Control Rulemaking (March

27, 2023).

        38.     HISA’s initial set of rules and regulations came into eﬀect on July 1, 2022. Fed. Trade

Comm’n, Order Approving the Racetrack Safety Rule Proposed by the Horseracing Integrity and Safety Authority

(March 3, 2022) (“Safety Order”).

        39.     These regulations include rules related to racetrack safety and operational standards

designed to enhance the welfare of racehorses and the integrity of the sport. See generally HISA Rules

and Regulations 1000-9000.

        40.     Congress’ actions were necessary to ﬁll the void of animal welfare legislation in states

such as Illinois. Prior to the federal government’s establishment of HISA and HIWU, horse racing in

Illinois was solely regulated by the IRB.

        41.     Unlike HISA and HIWU whose remit as a regulator is solely to ensure racetrack safety

and the welfare of the animals, the legislative mandate of the Illinois Racing Board conﬂicts with the

role of a traditional regulatory body.

        42.     The role of a regulatory body is to enforce laws and regulations and to protect the

public interest by ensuring that industries, markets, and other entities operate fairly, safely, and

transparently. However, the IHRA lists six public policies of the state’s racing legislation and the

attendant mandate of the IRB. The ﬁrst ﬁve solely deal with the promotion of the sport in the state.

They are as follows:

                             a. support and enhance Illinois' horse racing industry, which is a
                                signiﬁcant component within the agribusiness industry (b)
                                ensure that Illinois' horse racing industry;

                             b. remains competitive with neighboring states;

                             c. stimulate growth within Illinois' horse racing industry, thereby
                                encouraging new investment and development to produce
                                additional tax revenues and to create additional jobs;



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                            d. promote the further growth of tourism;

                            e. encourage the breeding of thoroughbred and standardbred

                                horses in this State;

and only the ﬁnal policy enumerated discusses ensuring public conﬁdence and trust in the

credibility and integrity of racing operations and the regulatory process. 230 ILCS 5/1.2.

         43.    As a result, one of the peculiarities of the IHRA is the creation of numerous state

funds intended to exclusively beneﬁt the various special interests in the Illinois horse racing industry.

Id. at §§ 5/26; 5/28; 5/30; 5/54.75. In addition, a separate tax is levied on Illinois’ casinos and

sportsbooks for the exclusive beneﬁt of the Illinois horse racing industry. 230 ILCS 10/13.1.

III.     The Role of Wagering in the Funding of Illinois Horse Racing’s Special Interests

         44.    The Enterprise via the RICO Defendants leveraged their collective ability to drive up

the tax dollars and fees generated from wagers placed by the betting public. These tax dollars and fees

were exclusively earmarked for the special interests of Hawthorne and the Illinois horse racing

industry.

         45.    At all times relevant herein, Hawthorne held a license granted by the State of Illinois

to operate a pari-mutuel system of wagering on thoroughbred horses pursuant to 230 ILCS 5/3.12.

         46.    A pari-mutuel system of wagering is a form of wagering on the outcome of horse races

in which wagers are made on a horse or combination of horses and all wagers for each race are pooled

and held by a licensee for distribution in a manner approved by the IRB.

         47.    Pari-mutuel bettors in Illinois and across the United States place wagers on the

outcomes of races run at Hawthorne via numerous in-person and online gambling sites such as

FanDuel.

         48.    Funds wagered on races at Hawthorne are segregated as part of the pari-mutuel pool.

These funds are then placed in the custody of Hawthorne’s Thoroughbred Racing Secretary, White,



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and used to pay out winning bettors, and to pay prize money, referred to as “purses,” to the owners

of winning horses.

        49.      These funds ﬂow to Illinois racetracks (known as “associations” or “licensees” for

state and federal regulatory purposes) and other state horse racing interests in two primary ways.

        50.      The ﬁrst is by way of an unusual circular ﬂow of tax and pseudo-tax dollars generated

in the form of license fees, admission taxes, pari-mutuel taxes, surtaxes, and miscellaneous fees.

        51.      Hawthorne and White then remit these funds to the special interests legislated by the

IHRA, including:

              a. the RICO Defendants, Hawthorne and the IRB;

              b. various non-Defendants belonging to the Illinois Thoroughbred Horseman’s
                 Association (“ITHA”), whom the Enterprise’s activities also beneﬁted,4 and

              c. the various Illinois municipalities in which Hawthorne and the oﬀ-track betting parlors
                 it owns operate.

        52.      The funds established by the IHRA include the:

                 a.       Illinois Thoroughbred Breeders Fund (ITBF), 230 ILCS 5/30;

                 b.       Horse Racing Purse Fund, 230 ILCS. 5/26; 230 ILCS 5/28;

                 c.       Racetrack Improvement Fund, 230 ILCS 5/26; and,

                 d.       Horse Racing Equity Trust Fund, 230 ILCS 54.75.

        53.      The second source of funds is the “takeout” from the total handle itself. This is a

percentage of all funds wagered on Hawthorne races and is authorized annually by the IRB pursuant

to the IHRA. The takeout ranges from 5-15% of the gross amount wagered by the public. 230 ILCS

5/26.

        54.      The takeout is the major source of Hawthorne’s revenue and proﬁts. It is used to by



4       The Illinois Thoroughbred Horsemen’s Association represents nearly 2,500 thoroughbred owners and trainers
working around the year at Hawthorne Race Course. https://www.itharacing.com/about-itha.


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Hawthorne to pay various expenses, including the salaries and bonuses of employees including

Defendants Miller, Walsh, and White.

        55.     As the amount wagered in Illinois has decreased, so too have the income, proﬁts, and

cash ﬂow of Hawthorne.

        56.     The amounts remitted to the special interests, including Hawthorne, the IRB, the

ITHA, and its members from these funds ﬂuctuates with the amount wagered by the public, thereby

aligning the incentives of all RICO Defendants in the Enterprise.

IV. Hawthorne’s Deteriorating Financial Condition

        57.     To prop up this dying industry, the Illinois legislature enacted PA 1010-0031 the

“Rebuild Illinois Capital Plan,” which provides for existing racetracks in Illinois to operate casino-

style gambling on their premises, hereinafter referred to as a “racino.” 230 ILCS 5/7.7.

        58.     The Illinois Gaming Board approved Hawthorne to proceed with the construction of

a racino in July 2020.

        59.     As of the ﬁling of the instant complaint, due to their ﬁnancial condition, Hawthorne

has been unable to secure funding for the construction of a racino under the license granted to them.

        60.     Since 2022, several mechanics’ liens totaling over $5 million dollars have been ﬁled

against Hawthorne, alleging unpaid construction costs related to the construction of the racino.

        61.     On numerous occasions in recent years, Hawthorne has failed to timely remit the

funds collected and owed to the State of Illinois and other constituents.

        62.     By way of example, Hawthorne made several late payments of funds it owed for taxes

on wagers made at its oﬀ-track betting sites in 2023.

        63.     Hawthorne’s failure to timely pay the oﬀ-track betting (“OTB”) handle tax subjected

it to ﬁnes from the IRB, that were never levied. See 230 ILCS 5/26(h)(12)(A).

        64.     Additionally, in 2023 Hawthorne failed to timely remit the amounts owed to the



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Racing Industry Charitable Foundation (“RICF”). The RICF is a charity that purportedly provides on-

site medical, dental, social services, licensed outpatient substance abuse programs and community

mental health clinics to the employees and residents on the backstretches of the racetracks in Illinois.

RICO Defendant Miller serves as the president of RICF.

        65.     Under the IHRA, if a licensee willfully fails to remit its contribution to the RICF, the

IRB may revoke its license to conduct horse racing. 230 ILCS 5/31.1.

        66.     As a participant in the Enterprise, the IRB levied no ﬁnes or penalties and did not

move to revoke Hawthorne’s license.

V.     The Regulatory Roles and Responsibilities of Veterinarians at Hawthorne under
       Federal and State Law

        67.     As discussed more fully below, the veterinarians who perform oﬀicial regulatory duties

under state and federal law, determine the eligibility of horses to race in the state and allowed the

Enterprise and the RICO Defendants to use their authority to perpetuate its goals.

        68.     The federal and state regulatory classiﬁcation of veterinarians who work at racetracks

in Illinois fall into three classiﬁcations: (a) State Veterinarians, (b) Track/Association Veterinarians,

and (c) Attending Veterinarians.

        69.     Attending Veterinarians, similar to private veterinarians for household pets, are private

contractors paid by the horse’s owners to provide ongoing medical care to their horses. HISA Rule

2010; 11 Ill. Admin. Code § 505.10.

        70.     State Veterinarians and Association Veterinarians contrast with Attending

Veterinarians, as the State and Association Veterinarians have speciﬁed regulatory duties are that are

explicitly mandated by the IHRA, the IRB and HISA and do not pertain to the ongoing medical care

of horses, but rather with compliance with the respective regulatory regimes. HISA Rule 1020; 11 Ill.

Admin. Code § 502.10

        71.     Collectively, State and Association Veterinarians are referred to as “Oﬀicial

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Veterinarians,” in the various applicable state and federal statutes, rules and regulations.

        72.     The roles and responsibilities of Oﬀicial Veterinarians are regulated concurrently

under Illinois and federal law.

        73.     The IHRA provides for the employ and appointment of State Veterinarians by the

IRB. State veterinarians, including RICO Defendant Calderon, have primary responsibility for

maintaining the safety of racehorses before, during, and after a race. Id. at § 502.10.

        74.     These responsibilities include conducting pre-race examinations, monitoring horses'

health during races, ensuring compliance with veterinary regulations, maintaining records of

examinations and treatments, and administering blood and urine tests to detect doping. Id. at §§

502.70; 503.20; 505.50; 603.70

        75.     11 Ill. Admin. Code §605.10 provides that State Veterinarians shall:

                a. report to the Stewards all examinations and inspections of any horse or premises
                   under the jurisdiction of the Board;

                b. establish procedures, relative to the IHRA that will govern all practicing
                   veterinarians at the racetrack;

                c. be consulted about any alleged violations of the IHRA;

                d. maintain a Veterinarian's list; and,

                e. at the close of each meeting, make a written report to the IRB of the conditions
                   of the meeting and any recommendations they deem advisable.

        76.     Similar to the deﬁnition of a State Veterinarian under Illinois law, federal law deﬁnes

a Regulatory Veterinarian as a veterinarian who is employed, contracted, or appointed by a State

Racing Commission, Racetrack, the Authority, or HISA to monitor the health and welfare of Covered

Horses. HISA Rule 1020.

        77.     Relevant to the instant matter, HISA Rule 2135 provides that it shall be the

responsibilities and duties of the Regulatory Veterinarian to:

                a. conduct pre-race inspections on all potential starters on Race Day;

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               b. inspect any Covered Horse when there is a question as to the physical condition
                  of such Covered Horse independent of the Covered Horse's entry status; and

               c. remove a Covered Horse from the Veterinarians List in accordance with Rules
                  2241 and 2242.

       78.     HISA deﬁnes an Association Veterinarian as a veterinarian employed by a racetrack.

       79.     Relevant to the instant matter, Plaintiﬀ Dr. Tuma and Enterprise member and RICO

Defendant Beuchler were Association Veterinarians. Id. at 1020.

       80.     Association veterinarians perform their duties at the request of and under the auspices

of a State/Regulatory Veterinarian. HISA Rule 2010; 11 Ill. Admin. Code § 502.20

       81.     Oﬀicial Veterinarians are authorized to:

               a. access any and all Horses housed on Racetrack grounds regardless of entry status;

               b. perform inspections of any Horse at any time;

               c. observe Horses during training activities and workouts;

               d. perform pre-race veterinary inspections and post-race observations; and

               e. place a Horse on the Veterinarians’ List.

               f. In addition, an association veterinarian may scratch any horse that in her opinion
                  [is], injured ill, or otherwise unable to compete due to medical or health related
                  condition. Id.

       82.     The responsibilities of Association Veterinarians at Hawthorne, including Dr. Tuma

and Beuchler were delegated to them by Calderon, the Chief State Veterinarian.

       83.     Relevant to the instant matter, these responsibilities included conducting the pre-race

exams, whereby horses were assessed for racing soundness and medical ﬁtness to run in that day’s

races, under IRB and HISA rules.




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 V.     Qualiﬁcations of Horses to Race and the Minimum Number Required

        84.     All horses entered into a race in Illinois must undergo a pre-race veterinary

examination by an Oﬀicial Veterinarian to ensure that the horse is ﬁt to race. 11 Ill. Admin. Code §

603.20; HISA Rule 2142(c).

        85.     Illinois law requires State Veterinarians keep a continuing health and racing soundness

record of each horse examined. Id. § 603.60.

        86.     Illinois law provides that:

                a. No horse is qualiﬁed to run in any race unless he is duly entered for that race;

                b. No disqualiﬁed horse shall be entered for a race; and

                c. No disqualiﬁed person shall enter a horse in a race.

11 Ill. Adm. Code Section 1413.20.

        87.     No horse on the state Veterinarian's List (see Rule #51A) (11 Ill. Adm. Code

Section 1403.63) or the Steward’s list (see Rule #34B) (11 Ill. Adm. Code 1402.165) shall be entered

for a race.

        88.     A horse is ineligible if it is not qualiﬁed to participate in a speciﬁc race under the rules

and conditions of that race. Id. at §1413.30.

        89.     Under Illinois and federal law, horses that are determined to be ineligible to compete

in a regulated horserace must be placed on the State Veterinarian’s List until released by a Regulatory

Veterinarian. Id; HISA Rule 2240(a).

        90.     The removal of a horse unqualiﬁed or unﬁt to run in a speciﬁed race is referred to as

a “scratch.”

        91.     Illinois and federal law require that horses must be scratched from a race if they are

assessed as sick or lame (lameness is also frequently referred to in legislation and regulation as

“unsound”). HISA Rule 2141; 11 Ill. Admin. Code § 1413.50



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          92.    Pursuant to federal law, horses designated as sick by a Regulatory Veterinarian are

restricted from racing for at least seven days, and horses designated as lame (unsound) are restricted

from racing for at least fourteen days. HISA Rule 2241(a)(1); HISA Rule 2241(a)(5).

          93.    Illinois and federal law require that all horses disqualiﬁed from racing because of

sickness or lameness must be promptly reported to the State Steward and an electronic record

maintained and transmitted to the IRB and HISA of the veterinarians’ assessments. HISA Rule

2251(b); 11 Ill. Admin. Code §603.60

          94.    The Illinois regulations attendant to the qualiﬁcations of a horse as ﬁt to race state

that:

                 a. every horse entered to race shall be examined by the track veterinarian or
                    a licensed veterinarian authorized by the Board before the race. The
                    veterinarian shall determine whether the horse is physically ﬁt to race.

                 b. the veterinarian shall certify that the horse is sound and in ﬁt condition to
                    race. If, in the opinion of the veterinarian, the horse is not in ﬁt condition
                    to race, the horse shall be scratched from the race.

11 Ill. Admin. Code §603.50.

          95.    HISA Rule 2132 requires a comprehensive examination of each horse by a veterinarian

prior to the race (the pre-race exam). The veterinarian must certify that the horse is in good health

and sound condition, explicitly noting that any horse exhibiting signs of lameness is to be scratched

from the race.

          96.    Finally, 11 Ill. Admin Code 1413.131 provides for the minimum number of horses

required to run a pari-mutuel wagering race in the State of Illinois. In relevant part it provides if

scratches reduce the number of horses in such a race to fewer than six, instead of cancelling the race

altogether, Hawthorne, as the licensed association, may run the race as a non-wagering exhibition race.

          97.    Had these races been legally run as non-wagering races, the RICO Defendants and the

Enterprise would have been deprived of the associated revenue from the handle and takeout.



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VI.      The Medical Assessment of Lameness, its Long-Term Impact on Animal Welfare and
         The Use of this Inside Information on Wagering.

         98.      The Merck Veterinary Manual describes lameness in horses as:

                  an abnormal stance or gait caused by either a structural or a functional disorder
                  of the locomotor system. The horse is either unwilling or unable to stand or
                  move normally. Lameness is the most common cause of loss of use in horses.
                  It can be caused by trauma, congenital or acquired disorders, infection,
                  metabolic disorders, neurologic deﬁcits or circulatory system disease.5

         99.      Lameness often originates from musculoskeletal injuries, including tendinitis,

fractures, or joint inﬂammation.6

         100.     When a horse is forced to race despite these injuries, the biomechanical stress placed

on the aﬀected limb(s) increases signiﬁcantly. 7

         101.     The repetitive strain from racing exacerbates these injuries, often leading to

catastrophic breakdowns, such as complete fractures or ruptured tendons, which can necessitate

euthanasia.8

         102.     Lameness can alter a horse's gait, causing uneven distribution of weight and leading to

compensatory injuries in other limbs. 9




5        Merck Veterinary Manual, Overview of Lameness in Horses, https://www.merckvetmanual.com/musculoskeletal-
system/lameness-in-horses-overview-and-examination/overview-of-lameness-in-horses (last visited Sept. 5, 2024).
6        Id.
7        J. McIlwraith, et al., The Biomechanics of the Equine Limb and Its Eﬀect on Lameness, Veterinarian Key (July
23, 2023), https://veteriankey.com/the-biomechanics-of-the-equine-limb-and-its-eﬀect-on-lameness.
8        Laura Kennedy, DVM, Studying Catastrophic Racehorse Breakdowns: Research That Can Save Lives, Equine Programs,
University of Kentucky College of Agriculture, Food and Environment, https://equine.ca.uky.edu/studying-catastrophic-
racehorse-breakdowns (last visited Sept. 5, 2024).
9     Elizabeth J. Davidson, DVM, Lameness Evaluation, (2018), https://cmapspublic3.ihmc.us/rid=1W6CKNF4K-
1MRD964-1ZLM/Lameness%20Evaluation.pdf.


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         103.      Horses with lameness are at a higher risk of developing secondary injuries in previously

healthy limbs due to altered locomotion. This increased risk of multi-limb injury can make recovery

more diﬀicult and may result in long-term disability.10

         104.      Chronic lameness in horses is often associated with long-term orthopedic issues, such

as degenerative joint disease or osteoarthritis. These conditions result from sustained inﬂammation

and damage to joint tissues, which worsen when a horse continues to race while lame. The repetitive

trauma to the joints accelerates the degenerative process, leading to persistent pain and reduced

mobility.11

         105.      The long-term ﬁnancial impact of a diagnosis of lameness in horses extends to the

horse's potential as a breeding prospect. Lameness, especially when chronic, can reduce a horse's value

in the breeding market.12

         106.      There are a myriad of medical conditions that can lead to lameness, and not all of them

directly correlate to a horse’s ability to perform well in a particular race.13 Often the catastrophic

consequences to the horse’s safety and welfare are only evident later. By way of example:

              a. On May 14, 2023, Dr. Tuma’s lameness assessment of Imagine Gold was overturned

                   by RICO Defendants Beuchler and Calderon. Imagine Gold ﬁnished in second place

                   in Race 7. That race would be its last. Imagine Gold was euthanized at Hawthorne

                   nine days later on May 23, 2023, citing “carpus injury and intractable pain,” as the




10       Michael W. Ross & Sue J. Dyson, Diagnosis and Management of Lameness in the Horse 111-15 (2d ed. 2010).
11       Id. at 633-35.
12       National Economic Cost of Equine Lameness, Colic, and Equine Protozoal Myeloencephalitis (EPM) in the
U.S., The Walking Horse Report, https://www.walkinghorsereport.com/news/national-economic-cost-equine-lameness-
colic-equine-417 (Dec. 7, 2001).
13        Hansen, Stefanie H., Bramlage, Lawrence R., & Moore, George E. Racing Performance of Thoroughbred Racehorses with
Suspensory Ligament Branch Desmitis Treated with Mesenchymal Stem Cells (2010–2019), Equine Veterinary Journal, vol. 56, pp.
503–513, (2024).


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                medical basis requiring its euthanasia.

            b. Exhibit A depicts “Dastardly Deeds” a horse whose hind legs severely crossed over

                one another in a condition called “rope walking” or “plating.” Plating is often a sign

                of a neurological disorder. This horse was assessed as lame by Dr. Tuma and ﬁnished

                in third place in Race #8 on July 6, 2023.

        107.    Professional athletes, like horses, often “play through the pain,” achieve notable

victories, yet suﬀer long term severe health consequences. Examples include:

                            a. Tiger Woods (Golf) won the 2008 U.S. Open despite a torn ACL and
                               stress fractures in his leg.

                            b. Kurt Angle (Wrestling) won the 1996 Olympic gold medal in
                               wrestling with a broken neck.

                            c. Kerri Strug (Gymnastics) competed with a torn ankle ligaments to
                               secure the gold medal for the U.S. in the 1996 Olympics.

                            d. Muhammad Ali (Boxing) suﬀered from Parkinson's syndrome,
                               exacerbated by years of head trauma, yet continued ﬁghting and
                               winning titles even after showing early signs of the condition.

                            e. Peyton Manning (NFL) won a Super Bowl with the Denver Broncos
                               in 2016 despite severe neck issues that required multiple surgeries.

        108.    Professional sports are replete with examples of insiders using information to beneﬁt

from or place illegal wagers using information on an athlete’s conditions. By way of example, in 2007,

NBA referee Tim Donaghy (“Donaghy”) and his co-conspirators, James Battista and Thomas

Martino, used Donaghy’s inside information of player injuries not disclosed to the public. Amongst

other illegal betting, Donaghy bet on games where he knew a player was injured or expected to have

limited playing time due to injury.14




14       Tim Donaghy, How Former Ref Tim Donaghy Conspired to Fix NBA Games, ESPN (Feb. 8, 2019),
https://www.espn.com/nba/story/_/id/25980368/how-former-ref-tim-donaghy-conspired-ﬁx-nba-games.


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                                                FACTS

I.     The IRB and Hawthorne Are Plaintiﬀ’s Co-Employers

        109.    At all times relevant herein Dr. Tuma served as an Association/Oﬀicial Veterinarian.

        110.    The IRB and Hawthorne were joint employers of Dr. Tuma and shared in all the

essential terms and conditions of her employment.

        111.    Association Veterinarians, such as Dr. Tuma, must be granted an occupation license

from the IRB in order to work at any Illinois facilities. 230 ILCS 5/15.

        112.    The IRB has authority to deny, suspend, or revoke an occupation license, thereby

prohibiting a veterinarian from working in the state. Id.

        113.    Further, prior to the start of any race meeting, Illinois racetracks must submit a list of

all racing oﬀicials and employees, including Veterinarians, to the IRB for approval to participate in the

upcoming meeting. 11 Ill. Admin Code 422.10.

        114.    At all relevant times herein, Calderon was an employee of the IRB and a

State/Regulatory veterinarian.

        115.    In her capacity as a State Veterinarian and an employee of the IRB, Calderon oversaw

Dr. Tuma’s daily veterinary duties including without limitation: giving speciﬁc instructions on daily

veterinary tasks, assigning her horses to evaluate, allocating ancillary work separate and apart from

pre-race exams, performing more comprehensive evaluations of horses for removal oﬀ of the State

Veterinarian’s list on days when there were no races scheduled, and despite not being an employee of

Hawthorne, instructing and ensuring Dr. Tuma’s compliance with Hawthorne’s policies and

procedures.

        116.    As an employee of Hawthorne, Dr. Tuma concurrently reported to Miller.

        117.    Miller reported to Walsh.

        118.    Miller, Walsh, and Hawthorne were authorized to set Dr. Tuma’s compensation,



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promulgate work rules including those involving track access, and oversee her general working

conditions.

        119.    Miller, Walsh and Hawthorne had the authority to approve requests for time oﬀ and

assign Dr. Tuma days or shifts she could or could not work.

        120.    Miller, Walsh and Hawthorne had the authority to hire and/or ﬁre Dr. Tuma.

II.     RICO Defendants Miller, White, and Walsh’s Roles and Responsibilities

        121.    In Miller’s role as racing director, he was responsible for publicity, horseman’s

relationship (through the “ITHA”), and served as the Hawthorne racing analyst.

        122.    In White’s role as racing secretary, he was responsible for: (a) race planning and

scheduling; (b) the eligibility requirements for horses and the entry process into the race; (c) overseeing

the draw which dictates what positions each horse will start the race; and (d) other compliance with

regulations as discussed more fully herein.

        123.    As the Assistant General Manager at Hawthorne, Walsh was responsible for: (a)

overseeing day-to-day operations; (b) employee management; (c) ensuring that the racetrack meets all

regulatory and operational standards; and (d) budget and ﬁnancial management.

        124.    Among their other responsibilities at Hawthorne, Miller and White were responsible

for setting the morning line odds.

        125.    The morning line odds are the initial pre-race odds set by a track’s oddsmaker (also

known as a “handicapper”) before betting begins on a particular race.

        126.    The morning line is transmitted to bettors nationwide via: (a) publication of the

Hawthorne daily racing program; (b) posting on Hawthorne's website; (c) other online betting

platforms referred to as Advance Deposit Wagering (“ADW”); (d) Hawthorne’s racing broadcast; and

(e) distribution to nationwide syndicated services.




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III.     The Enterprise Conspired to Run Lame, Injured, and Sick Horses

         127.   The Enterprise and the RICO Defendants ﬁrst agreed to and then defrauded the

betting public in Illinois and around the country by:

                a.      increasing the number of horses running in a races; and

                b.      running races that did not meet the minimum race card requirements of certain
                        races, without the addition of lame, sick, or injured horses not legally permitted
                        to race under federal or state law.

         128.   By running additional lame and/or sick horses not legally eligible to race, the

Enterprise and the RICO Defendants were able to signiﬁcantly increase the amounts wagered on a

speciﬁc race by more than ten thousand dollars.

         129.   RICO Defendants Hawthorne, Miller, White and, Walsh, all executives employed at

Hawthorne, further beneﬁted from larger numbers of horses in a race via increased ticket/gate fees

and concession sales.

         130.   The RICO Defendants all agreed to and subsequently collaborated on illegally

increasing the handle, takeout, and their corresponding share of the proceeds from the numerous state

funds and sur-taxes, while ensuring that they protected their own jobs.

         131.   Miller succinctly stated the primary goal to other RICO Defendants and participants

in the Enterprise in a June 25, 2023 text message, “I am just trying to keep horses here, so we can all

keep jobs.”

         132.   Beginning with the Spring 2022 racing meeting, in the morning before each day’s races,

Beuchler and Tuma, the two Association Veterinarians, would divide the list of horses, each having

responsibility for the pre-race exam of half of the horses running that day.

         133.   Attendant to the new HISA regulations and in furtherance of the existing Illinois

regulations that came into eﬀect in 2022, Dr. Tuma during her pre-race exams began performing a

more thorough gait analysis of the horses under her charge by taking them out of the barn stalls to



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observe their walk and trot.

          134.   HISA Rule 2142 requires that the pre-race examination include, among other things,

“observation of the Covered Horse jogging in hand, moving toward and away from the Veterinarian

so that both hind-end and front-end motion can be evaluated” and “placement of the covered horse

on the Veterinarians’ List if the Covered Horse does not jog sound or warm up to the Regulatory

Veterinarian’s satisfaction.”

          135.   For the 2022 racing meeting, pursuant to state and federal law, Dr. Tuma was

authorized by Calderon to scratch horses who in her medical opinion were not qualiﬁed to run, and

routinely did so.15

IV.       The Assault and Battery of Dr. Tuma by Members of the ITHA or their Agents

          136.   Dr. Tuma’s scratching of horses did not go unnoticed by other participants in the

Enterprise, including Max Quinones (“Quinones”), a Hawthorne trainer and member of the ITHA.

          137.   After complaints by various owners and trainers to the RICO Defendants regarding

Dr. Tuma’s scratches, Quinones caused a horse to lurch menacingly at her, threatening grave bodily

harm.

          138.   Dr. Tuma reported this incident to a number of the RICO Defendants, including

members of Hawthorne’s security, Miller, Eddie, and Calderon, and provided a documented incident

report.

          139.     Subsequently, in October of 2022, a groom employed by Quinones physically

battered her. As with the prior assault, Dr. Tuma reported this incident to Calderon, Eddy, and Miller.

          140.   In both instances only a nominal ﬁne was levied against the perpetrators.




15       Under HISA Rule 2135, an Association Veterinarian may perform the pre-race examination if the Regulatory
Veterinarian is unable.


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V.      Dr. Tuma’s First Set of Protected Activities and Complaints to Government Oﬀicials

        141.    The 2022 thoroughbred racing dates at Hawthorne were approved by the IRB,

pursuant to the IHRA, and consisted of two meetings. The ﬁrst, the spring meeting, was thirty-three

days commencing April 2, 2022 and ending June 25, 2022. The second, the fall meeting, was forty-

two days commencing on September 23, 2022, and ending on December 31, 2022.

        142.    It was during the fall meeting in 2022 that Dr. Tuma uncovered the full extent of the

illegal running of sick and lame horses by the RICO Defendants.

        143.    On or around the same time, Dr. Tuma uncovered and began investigating alterations

of the medical records of these horses.

        144.    Dr. Tuma recorded her assessments in the Track Manager software, a software which

transmitted via electronic means the medical assessments of horses running in Illinois to the IRB and

HISA.

        145.    Dr. Tuma discovered that on multiple occasions, her assessments of horses as “scratch

lame” had been tampered with by Calderon and Beuchler and changed to “racing sound” the

indication to state regulators that the horse was ﬁt to run or “scratch sick.”

        146.    As early as the spring meeting of 2022, Dr. Tuma ﬁrst noticed that when Beuchler

assessed a horse as lame, requiring a minimum two-week layoﬀ under federal law, Beuchler would

surreptitiously ask the horses’ trainer while in the barn during the pre-race exam, if the trainer would

prefer to scratch the horse themselves as “sick” via the submission of a falsiﬁed trainer initiated scratch

request.

        147.    Then in the fall meeting of 2022, Dr. Tuma uncovered that when Beuchler solicited a

“sick scratch” from the trainer, Dr. Tuma’s assessment as “scratch lame” would be deleted in the

system, a “sick scratch” would be input making it appear as if the scratch originated from the trainer,

and Beuchler would not input her own lame ﬁndings in the system.



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        148.      The use of a trainer sick scratch avoided the horse’s placement on the Veterinarian’s

List altogether. Thereby, avoiding both the seven-day layoﬀ if a sick scratch was made by Buechler, a

Regulatory Veterinarian, or the fourteen-day layoﬀ mandated for a lame horse under federal law.

        149.      Beuchler’s actions allowed numerous horses to illegally run prematurely in Illinois

horse races.

        150.      In the fall of 2022, Dr. Tuma began making a series of complaints to Calderon and

Beuchler about the illegal and fraudulent scratching of horses and the misclassiﬁcation of horses as

sick from lame.

        151.      In response to Dr. Tuma’s eﬀorts to thwart their illegal activity the RICO Defendants

informed Dr. Tuma of a new protocol applicable to scratches in the fall of 2022 meeting.

        152.      When Dr. Tuma returned to work for the fall of 2022 meeting, she was informed by

Calderon that she had been stripped of her authority to scratch horses and that this protocol was now

in eﬀect.

        153.      The new protocol required that when an Association Veterinarian, such as Dr. Tuma,

assessed a horse as sick or lame during a pre-race exam, that the Association Veterinarian must call

for an examination by a second Association Veterinarian (in all instances Beuchler). Then, if the two

Association Veterinarians did not concur on the assessment, Calderon herself would decide in her

capacity as State Veterinarian.

        154.      For the fall of 2022 meeting alone, Dr. Tuma assessed at least the following thirty-four

horses as lame and unsound to run:

Date                                     Race Horse Name

 December 30, 2022                          10   Mud Hut
 December 30, 2022                           2   Emoji Guy
 December 30, 2022                           1   Nagy and Da Bears
 December 18, 2022                           2   Born Again George



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 December 18, 2022                        7   Scat Shack
 December 18, 2022                        7   Carlos L
 December 18, 2022                        4   River Finn
 December 17, 2022                        8   Richiesgotswagger
 December 17, 2022                        5   Dark Hedges
 December 17, 2022                        8   J's Twostep Beauty
 December 16, 2022                        3   Frisco Line
 December 16, 2022                        5   Wicked Surprise
 December 16, 2022                        1   White Cashel
 December 16, 2022                        1   Sure Shot Annie
 December 16, 2022                        5   Uncle Dick
 December 11, 2022                        1   Naughty Alfred
 December 2, 2022                         5   Buxterhooter
 December 2, 2022                         7   Ghaaleb the Great
 December 2, 2022                         5   Gagoots
 November 25, 2022                        2   Nomandy Angel
 November 12, 2022                        4   Loring Park
 November 12, 2022                        4   Power Through
 November 12, 2022                        7   A Bold Ryde
 October 28, 2022                         4   Daahers Bully
 October 22, 2022                         9   Cool Cat Charlie
 October 22, 2022                         1   Goldenpence
 October 21, 2022                         6   Bens Malice
 October 21, 2022                         3   Follow the Signs
 October 8, 2022                          7   Carlos L
 October 7, 2022                          5   Dark Hedges
 October 7, 2022                          7   Zarmae
 October 7, 2022                          1   Izzy in a Tizzy
 October 2, 2022                          4   Someone Said So
 October 1, 2022                          7   American Mayhem


       155.    She was overturned by Beuchler and Calderon in thirty of these instances.

       156.    In the remaining four instances, three horses were allowed to be scratched sick. Only

one was concurred on by all three Veterinarians. This was on October 7, 2022, when the horse, Izzy

in a Tizzy, broke through a gate and was obviously injured.



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        157.     In doing so, Calderon and Beuchler in concert with the other RICO Defendants

fraudulently transmitted certiﬁcations to the IRB in Illinois and HISA in Kentucky, via electronic

means, that these lame horses were certiﬁed as ﬁt to run under Illinois and federal law.

        158.     The RICO Defendants engaged in this activity despite the fact that midway through

the fall 2022 meeting alone, 4 horses had already experienced catastrophic breakdowns. In 2022, a

total of 10 racehorses were euthanized or died in the course of their races and training at Hawthorne.

        159.     A breakdown refers to a severe injury that occurs during a race or a workout, often

involving the horse's musculoskeletal system.

        160.     When a breakdown occurs, the horse typically falters or collapses during the race.

Depending on the severity of the injury, the horse may need to be euthanized immediately on the

track or shortly afterward.

        161.     On December 4, 2022, Tuma brought her complaints of the criminal activities to Dr.

Mary Scollay (“Scollay”), Chief of Science at HIWU.

        162.     Tuma reported several issues:

                 a. First, that her attempts to make pre-race scratches of sick, injured, or lame horses
                    were being reversed by other veterinarians and that she had been told by the RICO
                    Defendants that every horse should “make it to the paddock” regardless of sick or
                    lame status because Hawthorne’s ﬁeld are short horses.16

                 b. Second, that when a horse was signiﬁcantly lame or injured, the Association and
                    Regulatory veterinarian would oﬀer a “deal” to the horse’s trainer in which the
                    horse would be scratched as sick, rather than lame, to avoid placement on the
                    Veterinarian’s List; and

                 c. Third, that Dr. Tuma had complained to Calderon, who refused to take any action
                    to stop the misconduct and told Tuma, “this is how it’s always done.”

        163.     Scollay referred the matter to Jennifer Durenberger (“Durenberger”), then Director of

Equine Safety and Welfare at HISA and Ann McGovern (“McGovern”), HISA’s Director of



16      The paddock is the area at a racetrack where horses are staged immediately prior to a race.


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Racetrack Safety.

         164.    No action was taken during the remainder of the 2022 meeting to stop the illegal

activities.


VI. Dr. Tuma’s Second Set of Protected Activities and Complaints to Government Oﬀicials
    and Defendants’ Eﬀorts to Silence Her

         165.    Hawthorne’s 2023 sole thoroughbred meeting was approved by the IRB, pursuant to

the IHRA and consisted of racing 68 days commencing on March 4, 2023, and ending on September

4, 2023.

         166.    During the 2023 meeting, Dr. Tuma assessed at least the following 50 horses as lame

and unqualiﬁed to run:

Date                            Race Horse Name
April 20, 2023                    4 Jeff the Lion
April 27, 2023                    6 Silvera
May 7, 2023                       1 Superstar Diva
May 25, 2023                      5 Rare Action Attack
June 4, 2023                      6 Z u Soon
June 4, 2023                      5 Andrew the Giant
June 7, 2023                      5 Ronan
June 21, 2023                     8 Jeff the Lion
June 29, 2023                     5 Peach Cobbler
June 29, 2023                     7 Dark Solution
July 6, 2023                      9 Flying Cricket
April 6, 2023                     4 Dastardly Deeds
April 6, 2023                     5 Fit and Famous
April 9, 2023                     4 Restoring Hope
April 9, 2023                     6 Christmas Present
April 27, 2023                    3 Lavendar Earl
May 4, 2023                       5 Eye on Dessert
May 7, 2023                       2 Godsgift
May 11, 2023                      2 Public Safety*
May 11, 2023                      2 The Last Fact
May 14, 2023                      1 Imagine Gold
May 14, 2023                      7 Power Through



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 May 18, 2023                       4   Blame Shifter
 May 18, 2023                       5   Meatloaf's Chance
 May 18, 2023                       3   Egomaniac
 May 18, 2023                       7   West Warpath
 May 25, 2023                       2   Bertrada
 May 28, 2023                       2   Mare's Gunner
 May 28, 2023                       5   Arch Flyer
 May 28, 2023                       7   Bal a Kazoo
 June 7, 2023                       2   Freedom Attack
 June 7, 2023                       7   Noble Creeker
 June 7, 2023                       8   Flying Cricket
 June 15, 2023                      6   Risky Boy
 June 18, 2023                      2   Safe Travels
 June 18, 2023                      2   No Nannette No
 June 18, 2023                      4   Uncle Dick
 June 18, 2023                      8   Blame Shifter
 June 21, 2023                      3   Dastardly Deeds
 June 22, 2023                      8   Play Twenty
 June 22, 2023                      1   Land Mark Deal
 June 22, 2023                      7   Cat Attack
 June 28, 2023                      7   Indio Guapo
 June 29, 2023                      1   Kramden
 July 5, 2023                       5   Follow the Signs
 July 5, 2023                       2   Electric Charge
 July 5, 2023                       5   Star of Kodak
 July 6, 2023                       6   Apollo U Anywhere
 July 6, 2023                       8   Dastardly Deeds
 July 9, 2023                       6   Family Tradition


        167.     Beuchler and Calderon agreed to overturn and run at least 48 of Dr. Tuma’s lame

assessments.

        168.     In doing so, they fraudulently transmitted certiﬁcations to the IRB in Illinois and HISA

in Kentucky via electronic means that these lame horses were certiﬁed as ﬁt to run under Illinois and

federal law.

        169.     However, under Illinois and federal law, each of these horses were required to have




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been listed on the State Veterinarian’s list and concurrently reported to RICO Defendants Eddy or

Kelley for their placement of the horses on the Steward’s list and then precluded from racing. None

of RICO Defendants Beuchler, Calderon, Eddy or Kelly complied.

          170.   During the course of the fall 2022 meeting and the 2023 meeting, Dr. Tuma asked

Beuchler for a second opinion dozens of times on horses she assessed as lame. However, at no point

in the meetings did Beuchler ever ask Dr. Tuma for a second opinion on a horse. Dr. Molladous,

another Association Veterinarian, who performed pre-race exams when Dr. Tuma or Beuchler were

absent requested Dr. Tuma’s opinion on several occasions.

          171.   On March 3, 2023, Marcia Gortowski (“Gortowski”), another State Veterinarian

employed by the IRB, in the course of correspondence regarding Dr. Tuma’s complaints with Scollay,

referred to the excessive number of scratches that had been changed from lame to sick and stated that

she “hop[ed] [Calderon] was not part of it” and acknowledged her awareness of the “collective

measures to thwart [Dr. Tuma’s] scratches.”

          172.   Acknowledging the stated concerns in Dr. Tuma’s complaints of retaliation and

foreshadowing Dr. Tuma’s forthcoming termination, Gortowski went on to state that she “did not

pick up on the number of times scratches were changed….[D]eﬁnitely did not realize that some were

changed to sick scratches. That seems worrisome. I am more afraid of a worsening chasm between

vets, Hawthorne management, IRB relationships than professional retaliation.”

          173.   Finally, on March 20, 2023, Dr. Tuma delivered a comprehensive whistleblower letter

to the IRB and HISA. This letter addressed the unheeded complaints of illegal activity, including the

false certiﬁcation by the RICO Defendants of horses as qualiﬁed to race, the illegal modiﬁcations of

her entries in the Track Manager system, and the fraudulent changing of the scratches from lame to

sick.

          174.   Dr. Tuma’s letter was broken down into (3) three categories:



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                a. The unauthorized modiﬁcation of equine medical records;

                b. Inappropriate/fraudulent transactions between trainers and veterinarians; and

                c. The failure to comply with standard operating protocols and procedures.

         175.   Dr. Tuma’s letter also provided state and federal regulators with speciﬁc examples of

the names and races of horses who were lame, changed to sick, and whose Track Manager records

had been altered. Including:

                a. Return of Premium on September 25, 2022;

                b. Naughty Alfred on December 12, 2022; and,

                c. Two Step Beauty on December 17, 2022.

         176.   Dr. Tuma’s March 20, 2023 complaint was explicit as to the fraudulent nature of the

actions stating, “the documentation submitted to the IRB/HISA cannot continue to be falsiﬁed,” and

that an investigation must ensue to “prevent further inappropriate transactions between trainers and

Regulatory Veterinarians.”

         177.   Dr. Tuma’s reporting to the governmental agencies also included concerns of race

ﬁxing.

         178.   Dr. Tuma reported to Durenberger and other government oﬀicials that the running

of lame horses may have been used by those with this inside knowledge or hidden ownership interests

to place illegal wagers or ﬁx races.

         179.   The failure to certify these horses as lame and place them on the Veterinarian’s List,

allowed the RICO Defendants to create and potentially beneﬁt from information regarding the

condition of the horses in the race that was not known by others, including bettors placing wagers on

that race around the country.

         180.   As of the ﬁling of the instant complaint, Plaintiﬀ is unaware of the extent to which

information was used by the RICO Defendants to place wagers or have others do so on their behalf.



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          181.   The fraudulent certiﬁcation of horses as sick, as opposed to lame, also resulted in

horses illegally being released from the Veterinarian’s List prior to the time they were legally qualiﬁed

to run.

          182.   In addition, on at least ten occasions during the 2023 meeting alone, Calderon’s and

Buechler’s overturning of Dr. Tuma’s lameness assessment increased the number of horses in the race

to the six minimum required, when the proper disqualiﬁcation of these horses would have left the

ﬁeld below the minimum number allowed to race in Illinois in a wagered race.

          183.   These races include: (a) race number ﬁve on April 6, 2023; (b) race number four on

April 20, 2023; (c) race number ﬁve on May 4, 2023; (d) race number two on May 7, 2023; (e) race

number two on May 25, 2023; (f) race number six on June 4, 2023; (g) race number six on June 15,

2023; (h) race number seven on June 22, 2203; (i) race number ﬁve on June 29, 2023, and (j) race

number two on July 5, 2023.

          184.   On or around the date Dr. Tuma submitted her comprehensive complaint to the IRB,

Miller, who had theretofore never called Dr. Tuma directly on her cell phone, called her a minimum

of six times to intimidate her about her lame scratches and to ensure that the maximum number of

horses were run.

          185.   Further evidencing the goals of the Enterprise, in a text exchange on April 6, 2023,

between RICO Defendants Miller and Eddy, an IRB state steward charged with ensuring the integrity

and fairness of races in Illinois, Eddy stated, “[I] love these handles.”

          186.   The role of the state stewards in maximizing the number of horses run in furtherance

of the scheme was also exposed when Kelley during the Fall 2022 meeting was presented with a list

of ten horses to be scratched that day. In response, Kelley stated “I hate seeing those [numbers].”

VII. The Retaliatory Termination of Dr. Tuma

          187.   On the morning of July 6, 2023, Dr. Tuma examined “Dastardly Deeds,” and assessed



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the horse as lame due to the exaggerated crossing of the horses’ hind limbs. A video of the horse

crossing its hind limbs during Dr. Tuma’s examination is attached as Exhibit A.

        188.    Calderon, with full knowledge of the horse’s lame condition, overturned Dr. Tuma’s

assessment and permitted the horse to run.

        189.    That same day Dr. Tuma sent the video of the lame horse to State Veterinarian

Gortowski.

        190.    The next day, Calderon learned about this new complaint. Calderon, in retaliation for

her complaint to Gortowski, and the various other complaints referenced herein, reported to Miller

Dr. Tuma’s “interference” with the goals of the Enterprise, and proceeded to send two illegal and

retaliatory emails.

        191.    The ﬁrst was a copy of Dr. Tuma’s March 20, 2023 complaint to the IRB, and the

second pertained to the aforementioned race from July 6, 2023.

        192.    Evidencing Calderon’s need to avoid outside detection of their illegal activities,

Calderon stated that “[Dr. Tuma] should have sent this request to me [as opposed to Dr. Gortowski],”

and that on a previous occasion, at Calderon’s request, that Miller had instructed Dr. Tuma to “inform

[Calderon], not Gortowski,” when she disagreed about an illegal scratch.

        193.    Calderon’s disclosure of Dr. Tuma’s complaints about Hawthorne to Miller, a

Hawthorne employee, violated the State Oﬀicials and Employees Ethics Act’s prohibition on ex parte

communications, 5 ILCS 430/5-50, and constituted Oﬀicial Misconduct under Illinois law. See 720

ILCS 5/33-3.

        194.    On July 12 and 13, 2023 HISA regulators were scheduled to be on site for an

accreditation meeting.

        195.    In advance of this meeting the RICO Defendants came to an agreement that to

perpetuate the activities of the Enterprise, avoid the potential for further detection, and punish Dr.



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Tuma for her protected activities, that she would be terminated.

       196.    On July 9, 2023 Walsh sent a text to Dr. Tuma requesting to meet.

       197.    Dr. Tuma indicated that she was unavailable that day and could possibly schedule a

meeting for the following Wednesday or Thursday, July 12 or 13, 2023.

       198.    Walsh, under pressure to terminate Dr. Tuma before the regulators arrived, replied

that “I prefer meeting before Wednesday.”

       199.    Dr. Tuma met with Walsh via Zoom on July 11, 2023 and was informed that she had

been terminated based on the pretext that her termination was a cost cutting measure.

       200.    Dr. Tuma was terminated in retaliation for her protected activated of disclosing the

activities of the Enterprise and to ensure that Dr. Tuma could not make any further disclosures

regarding the scheme to the federal regulators.

       201.    Shortly after her termination, Miller sent a text to various other RICO Defendants

stating “I was informed this evening that due to the shorter ﬁelds and lack of horses on the backside

that it didn’t make ﬁnancial sense to have two pre-race vets for live racing days. Dr. Tuma has been

informed by management of this and is currently no longer employed at Hawthorne.”


                                       RICO PREDICATES

       202.    Each RICO Defendant is a “person” capable of holding legal interest in property

within the meaning of 18 U.S.C. § 1961(3).

       203.    The actions of the RICO Defendants constitute an association-in-fact and is an

“enterprise” within the meaning of 18 U.S.C. § 1961(4).

       204.    By virtue of their solicitation and acceptance of wagers across the country and

transmission of regulatory information to HISA in Kentucky, the RICO Defendants engaged in, and

their activities have aﬀected, interstate commerce.

       205.    The RICO Defendants collectively agreed to and engaged in the aﬀairs of the

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Enterprise through a continuing pattern of racketeering via numerous instances of wire fraud in

violation 18 U.S.C. §1343, operating an illegal gambling business in violation of 18 U.S.C. §1955, and

gambling in violation of Illinois law, 720 ILCS 5/28-1.

       206.    The acts of racketeering by the RICO Defendants, on behalf of the Enterprise, were

related and have the same or similar purposes, results, participants, victims, and methods of

commission.

       207.    The acts of racketeering by the RICO Defendants on behalf of the Enterprise were

continuous and consisted of a series of related acts beginning no later than October 2022 and

continuing through at least July 2023.

       208.    The RICO Defendants operated and managed the Enterprise through a series of

coordinated actions which included collaboration and communication, via phone calls, meetings, and

electronic communications.

I.     Wire Fraud in Violation of 18 U.S.C. §1343

       209.    A party is guilty of wire fraud under 18 U.S.C. §1343 when:

               a. they have engaged in a scheme to deprive another of money, property or honest
                  services;

               b. they have done so with the intent to defraud;

               c. they use wire communications across state lines, including email, fax, or other
                  electronic communications; and,

               d. The false or fraudulent pretenses, representations, or promises are material, such
                  that they are capable of inﬂuencing the decision of the person or entity being
                  deceived.

               A)      Altering and Transmitting Fraudulent Entries to State and Federal
                       Regulators – Beuchler and Calderon via Track Manager and HISA
                       Portal

       210.    RICO Defendants Beuchler and Calderon committed wire fraud pursuant to 18 U.S.C.

§1343, when they agreed to and engaged in a scheme to defraud bettors and regulators by means of



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false or fraudulent pretenses.

        211.    RICO Defendants Beuchler and Calderon agreed to and submitted false or altered

data regarding the qualiﬁcations of horses to run in races at Hawthorne that was intended for and was

transmitted electronically to state and federal regulators in Track Manager and the HISA Portal. They

did so on a minimum on the dates and races listed in ¶¶ 154, 166.

        212.    The data was transmitted via online platforms to federal and state regulators in Illinois

and Kentucky.

        213.    They did so willfully in order deceive the regulators and bettors nationwide to induce

bettors to wager on these horses, thereby depriving the bettors of their money and increasing the

funds obtained by the enterprise, in addition to securing their own employment.

                B)      Altering and Transmitting Fraudulent Software Entries to State and
                        Federal Regulators – RICO Defendants Calderon, Eddy, and Kelley via
                        the State Steward’s and Veterinarian’s List

        214.    RICO Defendants Calderon, Kelley, and Eddy committed wire fraud in violation of

18 U.S.C. §1343, when they agreed to and engaged in a scheme to defraud bettors and regulators by

means of false or fraudulent pretenses. Defendants Calderon, Eddy, and Kelley electronically

transmitted the State Veterinarian and Steward Lists (and/or periodic updates to them), with false

information, while they certiﬁed the accuracy of the lists to state and federal regulators. Instead, these

lists were intentionally and fraudulently incomplete, as a result of failing to include the horses that

were known to be lame and should have been scratched from races.

        215.    This data was transmitted via email, text, or online platform to federal and state

regulators in Illinois and Kentucky.

        216.    The RICO Defendants agreed to and engaged in a pattern of submitting fraudulent

entries and did so continuously on the dates listed in ¶¶ 154, 166.

        217.    They did so willfully in order deceive the regulators and bettors nationwide to induce



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bettors to wager on these horses, thereby depriving the bettors of their money and increasing the

funds obtained by the Enterprise, in addition to securing their own employment.

                C)      Fraudulent Entries to Bettors Across the Country – Hawthorne, White,
                        Walsh, and Miller

        218.    RICO Defendants Miller, Walsh, White and Hawthorne, committed wire fraud in

violation of 18 U.S.C. §1343 when, pursuant to their responsibilities, they agreed to and then

intentionally entered the fraudulent racing data described herein containing the names and starting

odds of horses qualiﬁed to race onto Hawthorne's website, other ADW online betting platforms,

Hawthorne’s racing broadcast, and via distribution to nationwide syndicated services across the

country.

        219.    They did so knowing that the horses were not qualiﬁed to race.

        220.    These RICO Defendants engaged continuously in these acts on including, but not

limited to the races and dates listed in ¶¶ 157, 166.

        221.    They did so willfully to induce wagers from bettors, thereby depriving the bettors of

their money and increasing the funds obtained by the Enterprise, in addition to securing their own

employment.

II.     Operating an Illegal Gambling Business in Violation of 18 U.S.C. §1955 – All
        Defendants

        222.    All Defendants, in furtherance of their pattern of racketeering activity, agreed to and

knowingly operated an illegal gambling business in violation of 18 U.S.C. §1955.

        223.     18 U.S.C. §1955 deﬁnes an illegal gambling business as one that:

            a. violates state or local law where it is conducted;

            b. involves ﬁve or more persons who conduct, ﬁnance, manage, supervise, direct, or own
               all or part of the business; and

            c. has been in operation for more than thirty days or has grossed revenue of $2,000 or
               more in any single day.



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         224.   Here, in addition to the numerous state law violations of the IHRA and federal

 violations of HISA rules and regulations alleged above, the RICO Defendants each individually and

 collectively in furtherance of their pattern of racketeering violated 230 ILCS 5/35 of the IHRA. This

 statute provides that “[a]ny person holding or conducting any meeting within the State at which racing

 of horses shall be permitted for any stake, purse or reward or any person or persons aiding, assisting

 or abetting in the holding or conducting of such meeting where racing is held or conducted contrary

 to or in violation of any of the provisions and requirements of this Act shall be guilty of a Class 4

 felony.”

         225.   The illegal gambling business involved more than ﬁve persons, including but not

 limited to Defendants Walsh, Miller, White, Beuchler, Calderon, Kelley, Eddy, Hawthorne and the

 IRB, who managed, supervised or owned all or part of the illegal gambling business.

         226.   As further alleged herein, the RICO Defendants violations of state law under the

 IHRA and HISA operated for more than thirty days and grossed more than $2,000 on each day where

 a horse was certiﬁed as ﬁt to run but was in fact lame or sick.

III.     Transmitting Information as to Wagers, Betting Odds, or Changes in Betting Odds in
         Violation of 720 ILCS 5/28-1(a)(11) – Defendants Hawthorne, White, Miller, and Walsh

         227.   Under Illinois law, “a person commits the oﬀense of gambling when he or she….

 knowingly transmits information as to wagers, betting odds, or changes in betting odds by telephone,

 telegraph, radio, semaphore or similar means.” 720 ILCS 5/28-1(a)(11).

         228.   A person will not be convicted of gambling if he or she is a participant in pari-mutuel

 gambling, “as authorized by the law of [Illinois].” 720 ILCS 5/28-1(b)(11).

         229.   Under Illinois law, a second or subsequent conviction under 720 ILCS 5/28-1(a)(11)

 is a Class 4 felony, which his punishable by imprisonment for more than one year.

         230.   Defendants agreed to and then continuously ran races at Hawthorne, in a manner that

 was not authorized by state law, by running sick or lame horses that were not eligible to run on the

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dates listed in ¶¶ 157 and 166.

        231.    Further, Defendants agreed to and then ran races that were not authorized by state

law on at least the dates listed in ¶ 183, when Hawthorne allowed wagering races to proceed that did

not meet the minimum number of entries required by state law.

        232.    Despite these races being run illegally, Defendants Hawthorne, White, Miller, and

Walsh, agreed to and then transmitted betting odds information to bettors in Illinois and around the

country via Hawthorne's website, other ADW online betting platforms, Hawthorne’s racing broadcast,

and distribution to nationwide syndicated services across the country.


                                      COUNT I - RICO § 1962(a)

        233.    The allegations above are incorporated herein by reference.

        234.    This Count is against Count I RICO Defendants, Hawthorne, Miller, Walsh, White,

and Buechler (the “Count I RICO Defendants”) pursuant to 18 U.S.C. § 1964. The Count I RICO

Defendants used and invested income that was derived from a pattern of racketeering activity in an

interstate enterprise, when they paid themselves out of the illegal proceeds of the Enterprise that was

fraudulently obtained from wagers made by bettors across the country.

        235.    To fraudulently obtain wagers and use the funds, the Count I RICO Defendants

engaged in a pattern of racketeering activity that included:

                a.     wire fraud in violation of 18 U.S.C. §1343;

                b. operating an illegal gambling business in violation of 18 U.S.C. §1955; and

                c. transmitting information as to wagers, betting odds, or changes in betting odds in
                   violation of 720 ILCS 5/28-1(b)(11).

        236.    These acts, as set forth above, constitute a pattern of racketeering activity pursuant to

18 U.S.C. § 1961(5).

        237.    As a direct and proximate result of the Count I RICO Defendants’ racketeering



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activities and violations of 18 U.S.C. § 1962(a), Plaintiﬀ Dr. Tuma has been injured in her business

and property by the RICO Defendants. In furtherance of the Enterprise, the RICO Defendants

retaliated against her when she was deprived of her employment, and the past and future funds she

obtained therefrom. In addition, she has suﬀered severe emotional distress resulting in physical injuries

and harm to her professional reputation.

        238.     Based on the allegations contained herein, including but not limited to (a) the RICO

Defendants’ continuous pattern of predicate acts, (b) their notice of Tuma’s complaints to the RICO

Defendants’ themselves and government regulators, and (c) their collective agreement to terminate

Dr. Tuma, these damages were a foreseeable consequence of the activities of the Enterprise.

                                    COUNT II - RICO § 1962(c)

        239.     The allegations above are incorporated herein by reference.

        240.     This Count is against Count II RICO Defendants Hawthorne, Miller, Walsh, White,

Beuchler, Eddy, Kelley, and Calderon (the “Count II RICO Defendants”) pursuant to 18 U.S.C. §

1964.

        241.     The Count II RICO Defendants agreed to and did conduct and participate in the

conduct of the Enterprise’s aﬀairs through a pattern of racketeering activity as described above.

        242.     The Count II RICO Defendants engaged in a pattern of racketeering activity that

included:

            a.   wire fraud in violation of 18 U.S.C. §1343;

            b. operating an illegal gambling business in violation of 18 U.S.C. §1955; and

            c. transmitting information as to wagers, betting odds, or changes in betting odds in
               violation of 720 ILCS 5/28-1(a)(11).

        243.     These acts, as set forth above, constitute a pattern of racketeering activity pursuant to

18 U.S.C. § 1961(5).

        244.     The Count II RICO Defendants have directly and indirectly conducted and

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participated in the conduct of the Enterprise’s aﬀairs through the pattern of racketeering and activity

described above, in violation of 18 U.S.C. § 1962(c).

        245.    As a direct and proximate result of the Count II RICO Defendants’ racketeering

activities and violations of 18 U.S.C. § 1962(c), Plaintiﬀ Dr. Tuma has been injured in her business

and property by the RICO Defendants. In furtherance of the Enterprise, the RICO Defendants

retaliated against her when she was deprived of her employment, and the past and future funds she

obtained therefrom. In addition, she has suﬀered severe emotional distress resulting in physical injuries

and harm to her professional reputation.

        246.    Based on the allegations contained herein, including but not limited to (a) the RICO

Defendants’ continuous pattern of predicate acts, (b) their notice of Tuma’s complaints to the RICO

Defendants’ themselves and government regulators, and (c) their collective actions to terminate Dr.

Tuma, these damages were a foreseeable consequence of the activities of the Enterprise.

                                   COUNT III - RICO § 1962(b)

        247.    The allegations above are incorporated herein by reference.

        248.    This Count is against Defendants Hawthorne, Miller, Walsh, White, Beuchler,

Calderon, Eddy and Kelley (the “Count III RICO Defendants”) pursuant to 18 U.S.C. § 1964.

        249.    The Count III RICO Defendants are employed by or associated with the Enterprise.

        250.    The Count III RICO Defendants acquired and maintained interests in and control of

the Enterprise through a pattern of racketeering activity, by using the funds obtained from the

Enterprise, and their pattern of racketeering activity, to pay sums owed to the state and various

municipalities to maintain their association license and their horse racing operations.

        251.    The Count III RICO Defendants maintained interests in the control of the Enterprise

and of the Enterprise’s aﬀairs through a pattern of racketeering activity and for the unlawful purposes

as described above.



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        252.    The Count III RICO Defendant’s engaged in a pattern of racketeering activity

including:

                a. wire fraud in violation of 18 U.S.C. §1343;

                b. operating an illegal gambling business in violation of 18 U.S.C. §1955;

                c. transmitting information as to wagers, betting odds, or changes in betting odds in
                   violation of 720 ILCS 5/28-1(b)(11).

        253.    These acts, as set forth above, constitute a pattern of racketeering activity pursuant to

18 U.S.C. § 1961(5).

        254.    The Count III RICO Defendants have directly and indirectly acquired and maintained

interests in and control of the enterprise through the pattern of racketeering activity described above,

in violation of 18 U.S.C. § 1962(b).

        255.    As a direct and proximate result of the Count III RICO Defendants’ racketeering

activities and violations of 18 U.S.C. § 1962(b), Plaintiﬀ Dr. Tuma has been injured in her business

and property by the RICO Defendants. In furtherance of the Enterprise, the RICO Defendants

retaliated against her when she was deprived of her employment, and the past and future funds she

obtained therefrom. In addition, she has suﬀered severe emotional distress resulting in physical injuries

and harm to her professional reputation.

        256.    Based on the allegations contained herein, including but not limited to (a) the RICO

Defendants’ continuous pattern of predicate acts, (b) their notice of Tuma’s complaints to the RICO

Defendants’ themselves and government regulators, and (c) their collective actions to terminate Dr.

Tuma, these damages were a foreseeable consequence of the activities of the Enterprise.

                                   COUNT IV - RICO § 1962(d)

        257.    The allegations above are incorporated herein by reference.

        258.    This Count is against Defendants Hawthorne, Miller, Walsh, White, Beuchler,

Calderon, Eddy and Kelley (the “Count IV RICO Defendants”) pursuant to 18 U.S.C. § 1964.

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        259.    The Count IV RICO Defendants are employed by or associated with the Enterprise.

        260.    As set forth above, the Count IV Defendants agreed and conspired to violate 18 U.S.C.

§ 1962 (a), (b) and (c) when they:

                a. paid themselves out of the proceeds of the enterprise that were fraudulently
                   obtained from wagers made by bettors across the country and used the funds to
                   maintain their employment;

                b. intentionally defrauded bettors and state and federal regulators; and

                c. acquired and maintained interests in and control of the enterprise through a
                   pattern of racketeering activity by using the funds obtained from the enterprise
                   and their pattern of racketeering activity to pay sums owed to the state and various
                   municipalities to maintain their association license and their horse racing
                   operations.

        261.    The Count RICO IV Defendants have intentionally conspired and agreed to directly

and indirectly use or invest income that is derived from a pattern of racketeering activity in an interstate

enterprise, acquire or maintain interests in the enterprise through a pattern of racketeering activity,

and conduct and participate in the conduct of the aﬀairs of the Enterprise through a pattern of

racketeering activity. The Count IV RICO Defendants knew that their predicate acts were part of a

pattern of racketeering activity and agreed to the commission of those acts to further the schemes

described above. That conduct constitutes a conspiracy to violate 18 U.S.C. § 1962(a), (b) and (c), in

violation of 18 U.S.C. § 1962(d).

        262.    The Count IV RICO Defendants engaged in a pattern of racketeering activity

including:

                a.     wire fraud in violation of 18 U.S.C. §1343;

                b. operating an illegal gambling business in violation of 18 U.S.C. §1955;

                c. transmitting information as to wagers, betting odds, or changes in betting odds in
                   violation of 720 ILCS 5/28-1(b)(11).

        263.    These acts, as set forth above, constitute a pattern of racketeering activity pursuant to

18 U.S.C. § 1961(5).

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       264.    As a direct and proximate result of the Count IV Defendants’ racketeering activities

and violations of 18 U.S.C. § 1962(d), Plaintiﬀ Dr. Tuma has been injured in her business and property

by the RICO Defendants. In furtherance of the enterprise, the RICO Defendants retaliated against

her when she was deprived of her employment, and the past and future funds she obtained therefrom.

In addition, she has suﬀered severe emotional distress resulting in physical injuries and harm to her

professional reputation.

       265.    Based on the allegations contained herein, including but not limited to (a) the RICO

Defendants’ continuous pattern of predicate acts, (b) their notice of Tuma’s complaints to the RICO

Defendants’ and government regulators, and (c) their collective agreement to terminate Dr. Tuma,

these damages were a foreseeable consequence of the activities of the Enterprise.

                       COUNT V- ILLINOIS WHISTLEBLOWER ACT

       266.    The allegations above are incorporated herein by reference.

       267.    This Count is against Defendants Hawthorne, Miller, Walsh, Calderon, and the IRB

(the “Count V Defendants”).

       268.    The Illinois Whistleblower Act prohibits an employer from retaliating against an

employee for “disclosing information to a government or law enforcement agency, where the

employee has reasonable cause to believe that the information discloses a violation of State or federal

law, rule, or regulation.” 740 ILCS 174/15.

       269.    The Count V Defendants are “employers” as deﬁned by the Act. 740 ILCS 174/5.

       270.    Plaintiﬀ was an employee of the Count V Defendants as deﬁned by the Act. Id.

       271.    On March 20, 2023, Plaintiﬀ disclosed to the IRB and HISA that the Defendants were

engaged in a scheme of submitting false veterinary records in order to allow sick and lame horses to

run races. Plaintiﬀ reasonably believed that this conduct violated state and federal laws including, but

not limited to the Illinois Horse Racing Act, 230 ILCS 5/1 et seq.



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         272.   On July 7, 2023, Calderon informed Hawthorne of Dr. Tuma’s complaint to the IRB

and HISA.

         273.   The Count V Defendants terminated Dr. Tuma’s employment on July 11, 2023, a mere

four days later, in retaliation for her protected activity in violation of 740 ILCS 174/15.

         274.   As a direct result of the retaliatory discharge, Plaintiﬀ sustained suﬀered loss of

income, beneﬁts, career opportunities, humiliation, and emotional distress.

                      COUNT VI – ILLINOIS WHISTLEBLOWER ACT

         275.   The allegations of above are incorporated herein by reference.

         276.   This Count is against Defendants Hawthorne and the IRB (the “Count VI

Defendants”).

         277.   The Illinois Whistleblower Act prohibits an employer from retaliating against an

employee for “refusing to participate in an activity that would result in a violation of a State or federal

law, rule, or regulation.” 740 ILCS 174/20.

         278.   Defendants Hawthorne and IRB are “employers” as deﬁned by the Act. 740 ILCS

174/5.

         279.   Plaintiﬀ was an employee of Defendants Hawthorne and IRB as deﬁned by the Act.

Id.

         280.   As described above, Dr. Tuma refused to participate in activity that would result in a

violation of State or federal law, rule, or regulation including, but not limited to the Illinois Horse

Racing Act, 230 ILCS 5/1 et seq, when she refused, on multiple occasions, to participate in an illegal

scheme to submit false veterinary records to state and federal regulators.

         281.   Plaintiﬀ’s employment was terminated on July 11, 2023, in retaliation for refusing to

participate in the illegal conduct, in violation of 740 ILCS 174/20.

         282.   As a direct result of Defendants’ retaliatory discharge, Plaintiﬀ sustained suﬀered loss



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of income, beneﬁts, career opportunities, humiliation, and emotional distress.

               COUNT VII – ILLINOIS COMMON LAW RETALIATORY DISCHARGE

        283.     The allegations above are incorporated herein by reference.

        284.     This count is against Defendants Hawthorne and the IRB (“Count VII Defendants”).

        285.     Illinois law permits an employee to recover damages for retaliatory discharge from his

former employer, if the former employer discharges the employee in retaliation for reporting conduct

the employee reasonably believes to be illegal or against public policy to the employer, and the

discharge was in contravention of a clearly mandated public policy.

        286.     The Count VII Defendants discharged Plaintiﬀ in retaliation for reporting activity that

she reasonably believed violated state and federal laws including, but not limited to the Illinois Horse

Racing Act, 230 ILCS 5/1 et seq.

        287.     Defendants’ violations of the Illinois Horse Racing Act are against the explicit public

policy of Illinois, as stated in the Illinois Horse Racing Act. 230 ILCS 5/1.2(f).

        288.     As a result of Defendant’s retaliatory discharge, Plaintiﬀ suﬀered loss of income,

beneﬁts, career opportunities, humiliation, and emotional distress.

                        COUNT VIII – ILLINOIS CIVIL CONSPIRACY

        289.     The allegations of above are incorporated herein by reference.

        290.     This Count is against all Defendants (the “Count VIII Defendants”).

        291.     Illinois law permits an aggrieved party to recover damages for violations of the

common law tort of civil conspiracy when there is an agreement between two or more persons to

participate in an unlawful act and an injury is caused by an unlawful overt act performed by one of the

parties pursuant to and in furtherance of the common scheme.

        292.     As described above, the Count VIII Defendants agreed to and participated in

numerous unlawful acts in furtherance of their conspiracy, including but not limited to:



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                           a. wire fraud in violation of 18 U.S.C. §1343;

                           b. operating an illegal gambling business in violation of 18 U.S.C. §1955;
                              and

                           c. transmitting information as to wagers, betting odds, or changes in
                              betting odds in violation of 720 ILCS 5/28-1(b)(11).

       293.    As a direct result of the Count VIII Defendants’ unlawful acts, Plaintiﬀ sustained

suﬀered loss of income, beneﬁts, career opportunities, humiliation, and emotional distress.

       294.    WHEREFORE, Plaintiﬀ requests that this Court enter judgment against the

Defendants for actual damages, compensatory damages, punitive damages, treble damages, attorney’s

fees and costs, and any other relief deemed proper by this Court.



                                         JURY DEMAND

       Plaintiﬀ demands trial by jury on all claims properly triable by a jury.


The Garﬁnkel Group, LLC                                         Respectfully submitted,
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